      Case 23-70113-grs          Doc 211       Filed 05/08/23 Entered 05/08/23 10:42:56                            Desc Main
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                                         UNITED STATES BANKRUPTCY COURT
                                          EASTERN DISTRICT OF KENTUCKY
                                                 PIKEVILLE DIVISION


                 IN RE

                 INMET MINING, LLC                                                          CASE NO. 23-70113


                 DEBTOR(S)


                                                             ORDER

                      The Schedules [ECF No. 201], filed with the Court on May 5, 2023, is defective as

                presented for the following reason(s):

                         ☐     No case caption as required by FED. R. BANKR. P. 9004(b).

                         ☐     Not executed under penalty of perjury by all Debtors as required by FED. R.
                               BANKR. P. 1008.

                              No certificate of service as required by FED. R. BANKR. P. 1009.

                         ☐     Amendment not served on all creditors and parties in interest.

                         ☐     Failure to serve a necessary party.

                         ☐     Pursuant to KYEB LBR 1009-1 the Amendment needs to be accompanied by a
                               separate mailing list identifying ONLY affected creditors or parties in interest.

                         ☐     Service as indicated in the Amendment is insufficient. Creditors and/or parties in
                               interest do not automatically receive notice via CM/ECF.

                         ☐     Other

                      It is ORDERED that, within 14 days from the date of this Order, Debtor(s) shall file
                amended document(s) unless the Court for cause shown extends the period. Failure to comply
                with this Order may result in the dismissal of this case or the withholding of the discharge of
                Debtor(s) without further notice or hearing. This does not limit any party in interest from seeking
                contempt sanctions, dismissal of the case, or any other remedy for failure to comply with this
                Order.




___________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.


                                                                     Signed By:
                                                                     Gregory R. Schaaf
                                                                     Bankruptcy Judge
                                                                     Dated: Monday, May 8, 2023
                                                                     (grs)
